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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


    PHILADELPHIA INDEMNITY                           No. 2:18-cv-01190-CG-KRS
    INSURANCE COMPANY,

                  Plaintiff,                          JOINT STIPULATION TO EXTEND
      vs.                                               TIME FOR DEFENDANTS TO
                                                         RESPOND TO COMPLAINT
    HIDALGO MEDICAL SERVICES; and
    KAIYRA SALCIDO

                 Defendants.


        Plaintiff Philadelphia Indemnity Insurance Company and Defendants Hidalgo Medical

Services (“HMS”) and Kaiyra Salcido (“Salcido”) hereby stipulate to extend the time for

Defendants to file a response to Plaintiff’s Complaint to April 23, 2019. The current deadline for

HMS to respond to the complaint is February 26, 2019 and Dr. Salcido’s response deadline is

March 11, 2019. Good cause exists for extending the responsive deadlines. The parties are

participating in a mediation for the underlying matter1 on April 16, 2019, which may resolve this

pending action. If the mediation is unsuccessful, the Defendants’ responses to the Complaint would

be due in a week on April 23, 2019.

        Dated this 25th day of February, 2019.

                                                 CHRISTIAN DICHTER & SLUGA, P.C.

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 Kaiyra Salcido v. Hidalgo Medical Services, Sixth Judicial District, Grant County, Case No. D-
608-CV-2017-00381.

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                               CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on February 25, 2019, I electronically transmitted the attached
document to the Clerk’s Office using the CM/ECF system for filing and transmittal of a Notice
of Electronic Filing to the following CM/ECF registrants:

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By: /s/ Harleigh Scott




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